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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. MJ10-485
 8

 9                                 Plaintiff,

10          v.
                                                          DETENTION ORDER
11   VICTOR MARTINEZ,
12
                                   Defendant.
13

14   Offenses charged:
15          Count 1:              Conspiracy to Distribute Methamphetamine, in violation of 21
                                  U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846
16

17          Count 4:              Use of a Communication Facility, in violation of 21 U.S.C. §
                                  843(b) and 18 U.S.C. § 2
18
     Date of Detention Hearing: December 10, 2010
19
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
23
                    defendant is a flight risk and a danger to the community based on the nature of
24
                    the pending charges. Application of the presumption is appropriate in this case.
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           2.    Defendant has stipulated to detention due to being currently incarcerated, but
 2
                 reserves the right to contest his continued detention if there is a change in
 3
                 circumstances.
 4
           3.    There are no conditions or combination of conditions other than detention that
 5
                 will reasonably assure the appearance of defendant as required or ensure the
 6
                 safety of the community.
 7
           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
 9
                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
11
                 pending appeal;
12
           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
13
                 counsel;
14
           (3)   On order of a court of the United States or on request of an attorney for the
15
                 government, the person in charge of the corrections facility in which defendant
16
                 is confined shall deliver the defendant to a United States Marshal for the
17
                 purpose of an appearance in connection with a court proceeding; and
18
           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
21
           DATED this 10th day of December, 2010.


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23
                                                JAMES P. DONOHUE
24                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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